Case 2:18-cv-08451-WHW-CLW Document 1 Filed 04/27/18 Page 1 of 13 PageID: 1



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


 RASHID SAHITO, individually and on               Civil Case Number:
 behalf of all others similarly situated,

                           Plaintiffs,                           CIVIL ACTION

                                                        CLASS ACTION COMPLAINT
 -against-                                                        AND
                                                         DEMAND FOR JURY TRIAL

 DOORDASH, INC.

                           Defendant.

       Plaintiff Rashid Sahito (hereinafter, “Plaintiff”), individually and on behalf of all others

similarly situated, bring this Class Action Complaint (the “Complaint”) against Defendant

Doordash, Inc. (“Defendant” or “Doordash”), and allege, upon personal knowledge as to their own

conduct, and upon information and belief as to the conduct of others, as follows:

                                         INTRODUCTION

       1.      Plaintiffs bring this Complaint against Defendant to secure redress because

Defendant willfully violated the Telephone Consumer Protection Act, 47 U.S.C § 227, et seq.

(“TCPA”) and invaded Plaintiffs’ privacy by causing unsolicited text messages to be made to

Plaintiff’s and other class members’ cellular telephones through the use of an auto-dialer.

       2.      Defendant made one or more unauthorized text message to Plaintiff’s cellular

phones using an automatic telephone dialing system (“ATDS”) for the purpose of soliciting

business from Plaintiff.

       3.      Defendant continued to make unauthorized text message to Plaintiff’s cellular

phones using an automatic telephone dialing system (“ATDS”) for the purpose of soliciting

business from Plaintiff even after Plaintiff requested that the text messages stop.
Case 2:18-cv-08451-WHW-CLW Document 1 Filed 04/27/18 Page 2 of 13 PageID: 2



          4.   The TCPA was enacted to protect consumers from unsolicited and unwanted

telephone calls and text messages exactly like those alleged in this case.           In response to

Defendant’s unlawful conduct, Plaintiff seeks an injunction requiring Defendant to cease all

unsolicited text messaging activities to consumers and/or text messaging activities after a

consumer requests that the texts stop, and an award of statutory damages to the members of the

Classes (defined below) under the TCPA equal to $1,500.00 per violation, together with court

costs, reasonable attorneys’ fees, and treble damages (for knowing and/or willful violations).

                                            PARTIES

          5.   Plaintiff Rashid Sahito is a citizen of New Jersey and resides in Union County, New

Jersey.

          6.   Defendant Doordash is a corporation headquartered at 901 Market Street, 6th Floor,

San Francisco California 94103.

          7.   Whenever in this Complaint it is alleged that Defendant committed any act or

omission, it is meant that the Defendant’s officers, directors, vice-principals, agents, servants, or

employees committed such act or omission and that at the time such act or omission was

committed, it was done with the full authorization, ratification or approval of Defendant or was

done in the routine normal course and scope of employment of the Defendant’s officers, directors,

vice-principals, agents, servants, or employees.

                                 JURISDICTION AND VENUE

          8.   This Court has subject matter jurisdiction under 28 U.S.C. § 1331, as this action

arises under the TCPA, a federal statute.

          9.   The Court has personal jurisdiction over Defendant because it conducts significant

business in this District, and the unlawful conduct alleged in this Complaint occurred in, was

directed to, and/or emanated from this District.
                                                   2
Case 2:18-cv-08451-WHW-CLW Document 1 Filed 04/27/18 Page 3 of 13 PageID: 3



        10.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because the

wrongful conduct giving rise to this case occurred in, was directed to, and/or emanated from this

District.

        11.     Defendant is subject to specific personal jurisdiction in this District because it has

continuous and systematic contacts with this District through its telemarketing efforts that target

this District, and the exercise of personal jurisdiction over Defendant in this District does not

offend traditional notions of fair play or substantial justice.

                               LEGAL BASIS FOR THE CLAIMS

        12.     In 1991, Congress enacted the TCPA to regulate the explosive growth of the

telemarketing industry. In doing so, Congress recognized that “[u]nrestricted telemarketing …

can be an intrusive invasion of privacy.…” Telephone Consumer Protection Act of 1991, Pub. L.

No. 102-243 § 2(5) (1991) (codified at 47 U.S.C. § 227).

        13.     Specifically, the TCPA restricts telephone solicitations (i.e., telemarketing) and the

use of automated telephone equipment. The TCPA limits the use of automatic dialing systems,

artificial or prerecorded voice messages, SMS text messages, and fax machines. It also specifies

several technical requirements for fax machines, autodialers, and voice messaging systems –

principally with provisions requiring identification and contact information of the entity using the

device to be contained in the message.

        14.     In its initial implementation of the TCPA rules, the FCC included an exemption to

its consent requirement for prerecorded telemarketing calls. Where the caller could demonstrate

an “established business relationship” with a customer, the TCPA permitted the caller to place pre-

recorded telemarketing calls to residential lines. The new amendments to the TCPA, effective

October 16, 2013, eliminated this established business relationship exemption. Therefore, all pre-



                                                   3
Case 2:18-cv-08451-WHW-CLW Document 1 Filed 04/27/18 Page 4 of 13 PageID: 4



recorded telemarketing calls to residential lines and all ATDS calls to wireless numbers violate the

TCPA if the calling party does not first obtain express written consent from the called party.

        15.      As of October 16, 2013, unless the recipient has given prior express written

consent,1 the TCPA and Federal Communications Commission (“FCC”) rules under the TCPA

generally:

                 ●        Prohibit solicitors from calling residences before 8 a.m. or after 9 p.m., local

time.

                 ●        Require that solicitors provide their name, the name of the person or entity

on whose behalf the call is being made, and a telephone number or address at which that person or

entity may be contacted.

                 ●        Prohibit solicitations to residences that use an artificial voice or a recording.

                 ●        Prohibit any call or text made using automated telephone equipment or an

artificial or prerecorded voice to a wireless device or cellular telephone.

                 ●        Prohibit any call made using automated telephone equipment or an artificial

or prerecorded voice to an emergency line (e.g., "911"), a hospital emergency number, a

physician's office, a hospital/health care facility/elderly room, a cellular telephone, or any service

for which the recipient is charged for the call.

                 ●        Prohibit autodialed calls that engage two or more lines of a multi-line

business.

                 ●        Prohibit unsolicited advertising faxes.

                 ●        Prohibit certain calls to members of the National Do Not Call Registry.


1
         Prior express written consent means “an agreement, in writing, bearing the signature of the person
called that clearly authorizes the seller to deliver or cause to be delivered to the person called advertisements
or telemarketing messages using an automatic telephone dialing system or an artificial or prerecorded voice,
and the telephone number to which the signatory authorizes such advertisements or telemarketing messages
to be delivered.” 47 C.F.R. § 64.1200(f)(8).
                                                       4
Case 2:18-cv-08451-WHW-CLW Document 1 Filed 04/27/18 Page 5 of 13 PageID: 5



       16.     Furthermore, in 2008, the FCC held that “a creditor on whose behalf an autodialed

or prerecorded message call is made to a wireless number bears the responsibility for any violation

of the Commission’s rules.” In re Rules and Regulations Implementing the Telephone Consumer

Protection Act, Declaratory Ruling on Motion by ACA International for Reconsideration, 23 FCC

Rcd. 559, 565, ¶ 10 (Jan. 4, 2008); Birchmeier v. Caribbean Cruise Line, Inc., 2012 WL 7062748

(N.D. Ill., Dec. 31, 2012).

       17.     Accordingly, the entity can be liable under the TCPA for a call made on its behalf,

even if the entity did not directly place the call. Under those circumstances, the entity is deemed

to have initiated the call through the person or entity.

       18.     With respect to misdialed or wrong-number calls, the FCC recently clarified that

“callers who make calls without knowledge of reassignment and with a reasonable basis to believe

that they have valid consent to make the call should be able to initiate one call after reassignment

as an additional opportunity to gain actual or constructive knowledge of the reassignment and

cease future calls to the new subscriber.” In the Matter of Rules and Regulations Implementing

the Tel. Consumer Prot. Act of 1991, FCC 15–72, 30 F.C.C.R. 7961, ¶¶ 71-72 (July 10, 2015). “If

this one additional call does not yield actual knowledge of reassignment, we deem the caller to

have constructive knowledge of such.” Id. Thus, any second call placed to a wrong number

violates the TCPA.

       19.     Finally, the TCPA established the National Do-Not-Call list, as well as the

requirement that all businesses that place calls for marketing purposes maintain an “internal” Do-

Not-Call list (“IDNC list”).      The IDNC is “a list of persons who request not to receive

telemarketing calls made by or on behalf of that [seller].” Id. The TCPA prohibits a company

from calling individuals on its IDNC list or on the IDNC list of a seller on whose behalf the

telemarketer calls, even if those individuals’ phone numbers are not on the National Do-Not-Call
                                                  5
Case 2:18-cv-08451-WHW-CLW Document 1 Filed 04/27/18 Page 6 of 13 PageID: 6



Registry. Id. at § 64.1200(d)(3), (6). Any company, or someone on the company’s behalf, who

calls a member of the company IDNC violates the TCPA. The called party is then entitled to bring

a private action under the TCPA for monetary and injunctive relief.

                                  FACTUAL ALLEGATIONS

       20.       Defendant is a technology company. Unfortunately for consumers, Defendant

utilizes a sophisticated telephone dialing system to text individuals en masse promoting its

services. However, Defendant failed to put in place a mechanism to ensure that those who

requested the text messages to stop, stopped receiving said messages.

       21.       In Defendant’s overzealous attempt to market its services, Defendant knowingly

made (and continues to make) telemarketing text messages without the prior express written

consent of the call recipients, and continued to send messages after requests that the text messages

stop. As such, Defendant not only invaded the personal privacy of Plaintiffs and members of the

Classes, but also intentionally and repeatedly violated the TCPA.

                      FACTUAL BACKGROUND AS TO PLAINTIFF SAHITO

       22.       During and around April 2018, Defendant sent text messages to Plaintiff Sahito on

his cellular telephone number 917-322-9900 via an ATDS, as defined by 47 U.S.C. § 227(a)(1).

       23.       One such message was sent April 4, 2018 at 12:06pm, came from short code 874-

24 and stated:

                        “Hi, thanks for signing up. Please complete your profile so you can start

                        dashing and earning! Drd.sh/QVVhBg

See Exhibit A.

       24.       Upon information and belief, Plaintiff never gave Defendant express written

consent to solicit his cellular telephone with an automatic telephone dialing system.



                                                 6
Case 2:18-cv-08451-WHW-CLW Document 1 Filed 04/27/18 Page 7 of 13 PageID: 7



       25.     Wishing for these text messages to stop, Plaintiff texted back “Stop” at 1:55pm.

Defendant immediately responded stating “You are unsubscribed from DoorDash Notifications

alerts. No more messages will be sent. Reply HELP for help or shoot us a message here

www.doordash.com/help.” See Exhibit A.

       26.     Despite Plaintiff’s instructions and Defendants confirmation text, Plaintiff received

another text message on April 5. Again, Plaintiff texted back “Stop”, and Defendant again

confirmed that Plaintiff will not be receiving any more messages. See Exhibit A.

       27.     Despite Plaintiff’s instructions and Defendants confirmation text, Plaintiff received

another text message on April 6. This time, Plaintiff responded with the word “Help.”

       28.     Defendant immediately responded with the following text:

               “DoorDash Notification alerts. More help at www.doordash.com/help or

               +18559123274. 8 msgs/delivery. Msg&Data rates may apply. Reply STOP to

               cancel.”

       29.     On the same date, Plaintiff again texted “Stop” several more times.

       30.     Despite these multiple requests, Defendant continued to text Plaintiff including on

April 8, April 9, April 10, and April 12.

       31.     In addition to texting “Stop”, Plaintiff also attempted at getting the text messages

to stop by texting and emailing the Defendant, but to no avail.

       32.     On information and belief, and based on the circumstances as described above,

Defendant texted Plaintiff using an ATDS.

                                        LEGAL CLAIMS

       33.     Defendant’s calls constituted calls that were not for emergency purposes as defined

by 47 U.S.C. § 227(b)(1)(A)(i).



                                                 7
Case 2:18-cv-08451-WHW-CLW Document 1 Filed 04/27/18 Page 8 of 13 PageID: 8



       34.     Plaintiff did not provide Defendant prior express written consent to receive calls to

their cellular telephones utilizing an ATDS or artificial or pre-recorded voice, pursuant to 47

U.S.C. § 227 (b)(1)(A), and if such consent was given, Plaintiff revoked such consent.

       35.      In a Federal Communication Commission’s (FCC) Declaratory Ruling relating to

revocation of consent, the FCC states, “Additionally, we clarify that a called party may revoke

consent at any time and through any reasonable means. A caller may not limit the manner in which

revocation may occur.” See FCC 15-72, CG Docket No. 02-278.

       36.     All text messages Defendant made to Plaintiffs invaded Plaintiffs’ privacy and

violated 47 U.S.C. § 227(b)(1).

       37.     Plaintiffs have reason to believe that Defendant has messaged, and continues to

message, thousands of wireless telephone customers to market its products and services without

consent and/or after consumers revoked their consent in a reasonable manner.

       38.     In order to redress injuries caused by Defendant’s violations of the TCPA, Plaintiff,

on behalf of themselves and the Classes of similarly situated individuals, bring suit under the

TCPA, 47 U.S.C. § 227, et seq., which prohibits certain unsolicited voice and text calls to cellular

phones.

       39.     On behalf of Plaintiff and the Class, Plaintiff seek an award of statutory damages

to the Class members, together with costs and reasonable attorneys’ fees.

                              CLASS ACTION ALLEGATIONS

       40.     Plaintiffs bring this action pursuant to Rule 23(a), Rule 23(b)(2), and Rule 23(b)(3)

of the Federal Rules of Civil Procedure individually and on behalf of the Classes, which include:

               a.      CLASS A: All individuals in the United States who received a text
                       message made by or on behalf of Doordash to the individual’s
                       cellular telephone through the use of an automatic telephone dialing
                       system, without the recipients express prior written consent,
                       beginning four years prior to the date of this filing.
                                                 8
Case 2:18-cv-08451-WHW-CLW Document 1 Filed 04/27/18 Page 9 of 13 PageID: 9




               b.      All individuals in the United States who received a text message
                       made by or on behalf of Doordash to the individual’s cellular
                       telephone through the use of an automatic telephone dialing system,
                       after the individual replied ‘Stop’, beginning four years prior to the
                       date of this filing.


       41.     Plaintiff reserve the right to modify the Class definitions as warranted as facts are

learned in further investigation and discovery.

       42.     Plaintiff and the Class members were harmed by Defendant’s acts in at least the

following ways: Defendant, either directly or through its agents, illegally contacted Plaintiffs and

the Class via their cellular telephones by using an ATDS, thereby causing Plaintiffs and the Class

to incur certain cellular telephone charges or reduce cellular telephone time for which Plaintiffs

and the Class members previously paid; and Plaintiffs and Class members' privacy was invaded.

       43.     The exact size of the Class is presently unknown but can be ascertained through a

review of Defendant’s records, and it is clear that individual joinder is impracticable. Defendant

made telephone calls to thousands of consumers who fall into the definition of the Classes.

       44.     There are many questions of law and fact common to the claims of Plaintiffs and

the Classes, and those questions predominate over any questions that may affect individual

members of the Classes.

       45.     Common questions for the Classes include, without limitation:

               a.      Whether Defendant’s conduct violated the TCPA;

               b.      Whether Defendant systematically made text message to consumers after it

                       was reasonably requested that the text message stop;

               c.      Whether Class members are entitled to treble damages based on the

                       willfulness of Defendant’s conduct;



                                                  9
Case 2:18-cv-08451-WHW-CLW Document 1 Filed 04/27/18 Page 10 of 13 PageID: 10



                d.      Whether Defendant made text messages to consumers using any automatic

                        dialing system to any telephone number assigned to a cellular phone service;

                        and

                e.      Whether Defendant and its agents should be enjoined from engaging in such

                        conduct in the future.

        46.     Plaintiff’s claims are typical of the claims of the other members of the Class.

 Plaintiff and the Class sustained damages as a result of Defendant’s uniform wrongful conduct

 during transactions with Plaintiff and the Class.

        47.     Plaintiff will fairly and adequately represent and protect the interests of the Class,

 and have retained counsel competent and experienced in complex class actions.

        48.     Plaintiff have no interest antagonistic to those of the Class, and Defendant has no

 defenses unique to Plaintiff.

        49.     This class action is appropriate for class certification because Defendant has acted

 or refused to act on grounds generally applicable to the Class as a whole, thereby requiring the

 Court’s imposition of uniform relief to ensure compatible standards of conduct toward the Class,

 and making final injunctive relief appropriate with respect to the Class as a whole.

        50.     Defendant’s practices challenged herein apply to and affect the Class members

 uniformly, and Plaintiffs’ challenge of those practices hinges on Defendant’s conduct with respect

 to the Classes as a whole, not on facts or law applicable only to Plaintiffs.

        51.     This case is also appropriate for class certification because class proceedings are

 superior to all other available methods for the fair and efficient adjudication of this controversy

 given that joinder of all parties is impracticable.




                                                   10
Case 2:18-cv-08451-WHW-CLW Document 1 Filed 04/27/18 Page 11 of 13 PageID: 11



         52.     The damages suffered by the individual members of the Classes will likely be

 relatively small, especially given the burden and expense of individual prosecution of the complex

 litigation necessitated by Defendant’s actions.

         53.     Thus, it would be virtually impossible for the individual members of the Classes to

 obtain effective relief from Defendant’s misconduct.

         54.     Even if members of the Classes could sustain such individual litigation, it would

 still not be preferable to a class action, because individual litigation would increase the delay and

 expense to all parties due to the complex legal and factual controversies presented in this

 Complaint.

         55.     By contrast, a class action presents far fewer management difficulties and provides

 the benefits of single adjudication, economy of scale, and comprehensive supervision by a single

 court. Economies of time, effort and expense will be fostered and uniformity of decisions ensured.

                               FIRST CAUSE OF ACTION
                 VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
                                     47 U.S.C. § 227

         56.     Plaintiff re-alleges and incorporates by reference each preceding paragraph as

 though fully set forth herein.

         57.     Defendant made unsolicited and unauthorized text messages using an ATDS to

 Plaintiff’s and the Class members cellular telephones for the purpose of marketing products and/or

 services to Plaintiff and the Class.

         58.     Defendant sent the text messages and continued to send said messages after being

 told to stop.

         59.     The foregoing acts and omissions of Defendant constitute numerous and multiple

 violations of the TCPA, including but not limited to each and every one of the above-cited

 provisions of 47 U.S.C. § 227, et seq.
                                                   11
Case 2:18-cv-08451-WHW-CLW Document 1 Filed 04/27/18 Page 12 of 13 PageID: 12



        60.     Defendant’s conduct invaded Plaintiff’s privacy.

        61.     As a result of Defendant’s violations of 47 U.S.C. § 227, et seq., Plaintiff and Class

 A and Class B are entitled to an award of $500.00 in statutory damages, for each and every

 violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

        62.     Because Defendant had knowledge that they did not have express written consent

 to solicit Plaintiff and Class A with an automatic telephone dialing system, the Court should,

 pursuant to 47 U.S.C. § 227(b)(3)(C), treble the amount of statutory damages recoverable by

 Plaintiffs and Class A.

        63.     Because Defendant had knowledge that Plaintiff and Class B revoked consent to

 the receipt of the aforementioned telephone solicitations, the Court should, pursuant to 47 U.S.C.

 § 227(b)(3)(C), treble the amount of statutory damages recoverable by Plaintiffs and Class B.

        64.     Plaintiff and the Classes are also entitled to and seek injunctive relief prohibiting

 such conduct in the future.

                                         JURY DEMAND

        Plaintiff and the Class demand a jury trial on all issues so triable.

                                      RELIEF REQUESTED

        WHEREFORE, Plaintiff, individually and on behalf of the Class, respectfully request the

 following relief:

                a.     An order certifying this matter as a class action with Plaintiffs as Class

 Representatives, and designating Marcus & Zelman, LLC as Class Counsel.

                b.     An award of actual or statutory damages for each and every negligent

 violation to each member of the Classes pursuant to 47 U.S.C. § 227(b)(3)(B);

                c.     An award of treble actual or statutory damages for each and every knowing

 and/or willful violation to each member of the Classes pursuant to 47 U.S.C § 227(b)(3)(B);

                                                  12
Case 2:18-cv-08451-WHW-CLW Document 1 Filed 04/27/18 Page 13 of 13 PageID: 13



               d.        Injunctive relief prohibiting Defendant’s conduct complained of herein,

 pursuant to 47 U.S.C. § 227(b)(3)(A);

               e.        Pre-judgment and post-judgment interest on monetary relief; and

               f.        All other and further relief as the Court deems necessary, just, and proper.



  Dated: April 27, 2018                           /s/ Ari Marcus _________
                                                  Ari H. Marcus, Esq.
                                                  Yitzchak Zelman, Esq.
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                                                  Attorneys for Plaintiff


                    CERTIFICATION PURSUANT TO LOCAL RULE 11.2

        I, Ari H. Marcus, the undersigned attorney of record for Plaintiff, do hereby certify to my

 own knowledge and based upon information available to me at my office, the matter in controversy

 is not the subject of any other action now pending in any court or in any arbitration or

 administrative proceeding.




 Dated: April 27, 2018                          /s/ Ari Marcus
                                                Ari Marcus, Esq.




                                                  13
